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                               UNITED STATES DISTRICT COURT                          JS-6
                             CENTRAL DISTRICT OF CALIFORNIA
                                CIVIL MINUTES - GENERAL

 Case No.    CV 21-2714-DMG (RAOx)                                   Date     November 10, 2021

 Title Ekaterina Grozovskaya v. Joshua Sanchez et al.


 Present: The Honorable      DOLLY M. GEE, UNITED STATES DISTRICT JUDGE

              KANE TIEN                                             NONE REPORTED
              Deputy Clerk                                            Court Reporter

    Attorneys Present for Plaintiff(s)                      Attorneys Present for Defendant(s)
           NONE PRESENT                                             NONE PRESENT

 Proceedings: IN CHAMBERS - ORDER AND NOTICE TO PARTIES

        On July 12, 2021, the Court ordered Plaintiff to show cause in writing, no later than July
 26, 2021, why the above-entitled action should not be dismissed for failure to prosecute
 (“OSC”). [Doc. # 10.] On October 1, 2021, the Court extended the OSC deadline to November
 1, 2021. [Doc. # 18.] To date, Plaintiff has not filed a further response.

        Accordingly, good cause appearing, the Court DISMISSES this action without prejudice
 under Federal Rule of Civil Procedure 4(m) for failure to prosecute.

 IT IS SO ORDERED.




 CV-90                              CIVIL MINUTES - GENERAL                 Initials of Deputy Clerk KT
